Case 5:19-cv-00192-JPB Document 82 Filed 06/25/19 Page 1 of 1 PageID #: 537


              IN THE UNITED STATES DISTRICT COURT
          FOR THE NORTHERN DISTRICT OF WEST VIRGINIA


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                    Plaintiff(s),

                        V.                                           5:19-CV-a0192-JPB
 WIEaING HOSPITAL, INC. el el



               Defendant(s),




                                        ORDER


        Upon consideration of the foregoing Application for Admission Pro Hac Vice of
 Meena 1. SinleIl                                ,      it is ORDERED that the Application for
 Admission Pro Hoc Vice be, and the same is hereby, APPROVED and that the applicant may
 appear pro hoc vice in this matter on behalf of the represented party.



          ENTER:             4

                                                                       District Judge
